                    IN THE SUPREME COURT OF NORTH CAROLINA

                                        2021-NCSC-38

                                           No. 8A20

                                      Filed 16 April 2021

     STATE OF NORTH CAROLINA

                   v.
     HARLEY AARON ALLEN


           Appeal pursuant to N.C.G.S. § 7A-30(2) from the decision of a divided panel of

     the Court of Appeals, 269 N.C. App. 24 (2019), remanding judgments entered on 9

     February 2018 by Judge Alan Z. Thornburg in Superior Court, Mitchell County, for

     a hearing to determine defendant’s competency at the time of trial and to correct

     clerical errors. Heard in the Supreme Court on 15 February 2021.


           Joshua H. Stein, Attorney General, by Nicholas S. Brod, Assistant Solicitor
           General, and Ryan Y. Park, Deputy Solicitor General, for the State-appellant.

           Glenn Gerding, Appellate Defender, by Katherine Jane Allen, Assistant
           Appellate Defender, for defendant-appellee.


           ERVIN, Justice.

¶1         The issue before us in this case addresses whether defendant Harley Aaron

     Allen was subjected to a deprivation of his right to liberty without due process of law

     on the grounds that he was tried for and convicted of committing a criminal offense

     at a time when he “lack[ed] the capacity to understand the nature and object of the

     proceedings against him, to consult with counsel, and to assist in preparing his
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     defense.”   Drope v. Missouri, 420 U.S. 162, 171 (1975).        The Court of Appeals

     determined that the trial court had erred by failing to hold a second hearing for the

     purpose of inquiring into defendant’s competence immediately prior to trial even

     though defendant had been found to be competent at a hearing held six months

     earlier. After careful consideration of the State’s challenge to the Court of Appeals’

     decision, we hold that the trial court did not err by failing to hold a second competency

     hearing immediately prior to the beginning of defendant’s trial on its own motion. As

     a result, we reverse the Court of Appeals’ decision and remand this case to the Court

     of Appeals for consideration of defendant’s remaining challenge to the validity of the

     trial court’s judgments.

¶2         On 22 July 2015, defendant sold a pill containing a derivative of opium known

     as buprenorphine to a confidential informant. On 22 October 2015, a warrant for

     arrest charging defendant with selling Subutex, delivering Subutex, and maintain a

     vehicle for the purpose of keeping or selling Subutex was issued. On 22 February

     2016, the Mitchell County grand jury returned bills of indictment charging defendant

     with possession of Subutex with the intent to sell or deliver and having attained

     habitual felon status.

¶3         On 2 September 2016, defendant’s trial counsel filed a motion seeking to have

     a forensic evaluator appointed for the purpose of assessing defendant’s capacity to

     proceed.    On the same day, Judge R. Gregory Horne entered an order allowing
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     defendant’s motion. However, defendant was involuntarily committed to Mission

     Hospital before the required forensic evaluation could be completed, with this being

     one of the two instances during 2016 in which defendant’s parents petitioned to have

     defendant involuntarily committed after he “appeared to lose behavioral control,

     threatening suicide and becoming confrontational” while under the influence of

     methamphetamine. At the time of defendant’s November 2016 hospitalization, the

     attending medical professionals developed the opinion that substance abuse underlay

     many of defendant’s psychiatric, medical, and social stressors.

¶4            During defendant’s November 2016 involuntary commitment, forensic

     psychologist Paul Freedman evaluated defendant in accordance with Judge Horne’s

     order.       Based upon information obtained during his evaluation, Mr. Freedman

     described defendant as “hav[ing] substantial deficits regarding his overall fund of

     knowledge.”1 More specifically, Mr. Freedman noted that defendant had a very low

     IQ of approximately 60, had been awarded disability payments as the result of an

     intellectual disability, and was unable to manage his overall finances, including his

     disability payments, without assistance.        As a result, Mr. Freedman found that

     defendant suffered from an intellectual disability, memory impairment, and overall

     neurological dysfunction.



              According to Mr. Freedman, a person’s “fund of knowledge” is “the historically
              1

     accumulated and culturally developed bodies of knowledge and skills essential for household
     or individual functioning and well-being.”
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¶5            In addition, Mr. Freedman reported that defendant had “acknowledged that

     he had previously signed plea agreements without having an understanding of what

     they contained,” with it being unclear to Mr. Freedman “whether [defendant] knew

     he was facing multiple felony charges in two counties.” Furthermore, Mr. Freedman

     stated that defendant exhibited a serious lack of understanding of the judicial system,

     having described a judge as “the man you gotta stand in front of” and being unable to

     say whether the defense attorney was “on his side.”

¶6            In the course of a phone conversation that Mr. Freedman had with defendant’s

     adoptive mother, defendant’s adoptive mother stated that she and her husband had

     adopted defendant as an infant after he had experienced almost two years of extreme

     abuse and neglect. In Mr. Freedman’s view, the “abuse, detailed to this examiner,

     that the defendant suffered as an infant necessarily leaves a permanent, tragic, and

     irrevocable mark,” with defendant’s cognitive deficits, which had “been with him

     since early childhood,” being conditions that he would “likely struggle with [ ] for the

     remainder of his life.” In light of “the nature of his impairments,” Mr. Freedman felt

     “that [defendant’s] prospects of restorability are limited.” At the conclusion of his

     evaluation, Mr. Freedman opined that defendant was not capable of proceeding to

     trial.

¶7            After defendant had been released from Mission Hospital, the State moved on

     17 January 2017 that defendant be committed to Butner Central Regional Hospital
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     for a second evaluation of his capacity to proceed. On the same date, Judge Gary M.

     Gavenus entered an order granting the State’s motion. On 20 February 2017, Dr.

     Bruce Berger, a forensic psychiatrist, completed a second evaluation of defendant’s

     capacity to proceed.

¶8         After the completion of his evaluation, Dr. Berger concluded that defendant

     had a “profound lack of knowledge” of the court system and that defendant’s adaptive

     functioning was significantly impaired. In Dr. Berger’s view, defendant’s limited

     adaptive functioning, when taken “in combination with [defendant’s] attention

     deficits, learning deficits[,] difficult[ies] in moderating his behavior, mood disorder,

     and possible decrease of day-to-day structure since his marriage, all contribute to him

     being more impaired than IQ scores alone . . . would suggest.” Dr. Berger noted that,

     when asked what a prosecutor did, defendant had replied that “[h]e and the judge

     work together,” and that, when asked what a “plea bargain” was, defendant had said

     that it meant that you “[s]ign something.” As a result, Dr. Berger determined that

     defendant was not capable of proceeding to trial.

¶9         On 19 April 2017, following the completion of Dr. Berger’s competency

     evaluation, Judge Gavenus entered an order committing defendant to Broughton

     Hospital for temporary custody and mental health treatment. On 18 May 2017,

     Monisha Berkowskie, Ph.D., a Senior Psychologist at Broughton Hospital, wrote a

     letter stating that, in the opinion of defendant’s treatment team, defendant had
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       developed a “strong foundation of rational and factual knowledge of the legal system”

       following a course of treatment that included medication, educational sessions

       focused upon the development of an understanding of courtroom procedures, and

       attendance at Alcoholics Anonymous meetings that were intended to assist defendant

       in combating his substance abuse problems. In light of these developments, Dr.

       Berkowskie requested that another capacity evaluation be performed.

¶ 10         On 1 June 2017, Dr. Berger conducted another capacity evaluation of

       defendant at Broughton Hospital. Dr. Berger noted that, since beginning treatment

       at Broughton Hospital, defendant had become able to “follow unit routine, advocate

       for his needs, interact with peers and staff appropriately, and successfully complete

       activities of daily living independently.”     In addition, Dr. Berger reported that

       defendant was able to identify the specific charges that had been lodged against him

       and understood that he would be sent to prison if found guilty. Similarly, Dr. Berger

       stated that defendant comprehended the nature of the plea negotiation process and

       had the ability to explain the roles that defense attorneys, prosecutors, judges, juries,

       and witnesses played in the judicial system. At the conclusion of his evaluation, Dr.

       Berger opined that defendant had an improved and nuanced understanding of the

       court system and was capable of proceeding to trial.

¶ 11         On 23 August 2017, a pre-trial competency hearing was held before Judge

       Gavenus. In the course of the competency hearing, Judge Gavenus asked defendant’s
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trial counsel whether he agreed with Dr. Berger’s conclusion that defendant was now

competent to stand trial. In response, defendant’s trial counsel stated that:

             Your Honor, I don’t agree that he’s necessarily capable. . . .
             [H]e goes in two or three different directions sometimes as
             far as -- as far as talking to him. He does understand the
             charges now. . . . He does understand what he is facing as
             far as the felonies, and when he was here the first time he
             didn’t understand that. I think that . . . they have
             improved his capability. . . . I’m not a doctor. I mean, there
             is some question in my mind because I’ve dealt with
             [defendant] for a number of years. . . .

             I don’t really feel like I’m in a position to judge necessarily
             if I -- I’m not a doctor to judge his condition. But we just
             ask the Court to look at the report and make a
             determination, to make a finding on -- based on that.
             There’s really, there’s really nothing specific that I can
             disagree with in the report because I have seen some
             improvement in his condition.

In addition, Judge Gavenus had the following colloquy with defendant:

             THE COURT: All right, [defendant], you having any
             trouble thinking today? Do you feel confused in anyway
             today?

             DEFENDANT: No, sir.

             THE COURT: You been able to talk with your attorney
             about your case?

             DEFENDANT: Yes, sir.

             THE COURT: Has your attorney gone over the [second]
             report of Dr. Berger with you?

             DEFENDANT: Yes, sir.
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                    THE COURT: Are you in agreement with that report?

                    DEFENDANT: Yeah, yes, sir.

       At the conclusion of the hearing, Judge Gavenus determined that defendant was

       capable of proceeding to trial.

¶ 12         On 13 November 2017, the Mitchell County grand jury returned original and

       superseding indictments charging defendant with selling buprenorphine, delivering

       buprenorphine, maintaining a vehicle for the purpose of selling buprenorphine,

       possession of buprenorphine with the intent to sell or deliver, and having attained

       habitual felon status. The charges against defendant came on for trial before the trial

       court and a jury at the 5 February 2018 criminal session of the Superior Court,

       Mitchell, County.    On 9 February 2018, the jury returned verdicts convicting

       defendant of selling buprenorphine, delivering buprenorphine, and possessing

       buprenorphine with the intent to sell or deliver and acquitting defendant of

       maintaining a vehicle for the purpose of selling buprenorphine.

¶ 13         After the jury returned these verdicts, defendant entered a guilty plea to

       having attained habitual felon status. In the course of accepting defendant’s guilty

       plea, the trial court directly addressed defendant for the purpose of ensuring that he

       was acting in a knowing and voluntary manner. Among other things, the trial court

       inquired whether defendant was “under the influence of any alcohol, drugs, narcotics,

       medicines, pills or any other substances” and received a negative answer. In addition,
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       the trial court had the following discussion with defendant concerning the plea

       negotiation process:

                      THE COURT: Have you agreed to plead guilty as part of a
                      plea arrangement?

                      [DEFENDANT:] Yes, sir.

                      THE COURT: You are pleading guilty – you pled guilty to
                      attaining the status of habitual felon, but was there
                      actually a plea arrangement?

                      [DEFENDANT:] No.

                      [DEFENSE COUNSEL:] There’s not a plea arrangement,
                      Your Honor.

                      THE COURT: So let me ask you that again. Have you
                      agreed to plead guilty as part of a plea arrangement?

                      [DEFENDANT:] No, sir.

       At the conclusion of its inquiry into the voluntariness of defendant’s decision to enter

       a plea of guilty to having attained habitual felon status, the trial court accepted

       defendant’s plea.

¶ 14         At the ensuing sentencing hearing, defendant’s trial counsel requested and

       received permission for defendant to address the court. At that point, defendant

       stated that:

                      Your Honor, I’ve made a lot of mistakes, and just like
                      [defendant’s trial counsel] said, I’ve not been into nothing
                      since we went through this, and I show up to court all the
                      time. Not even probation officers have to worry about me,
                      because I’m always there. I show up, I pay my fines. Never
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              failed a drug test. . . . If you would take it into
              consideration, give me another chance, . . . you won’t be
              sorry for your decision if you do. Let me have a
              probationary sentence. I’ll do what I have to to get it done.
              You’ll never see my face back here again. I want to
              apologize to everybody here.

After finding as mitigating circumstances that defendant suffered from “a mental

condition that was insufficient to constitute a defense but significantly reduced the

defendant’s culpability for the offense” and that defendant “had a support system in

the community,” the trial court entered a judgment based upon defendant’s

convictions for selling buprenorphine after having attained the status of a habitual

felon sentencing defendant to a term of 58 to 80 months imprisonment and entered a

second judgment based upon defendant’s conviction for possession of buprenorphine

with the intent to sell or deliver sentencing defendant to a concurrent term of 8 to 19

months imprisonment.2 Defendant noted an appeal to the Court of Appeals from the

trial court’s judgments.3



       2 Although the trial court orally arrested judgment in connection with defendant’s

conviction for delivering buprenorphine, a written order that the trial court entered at the
conclusion of defendant’s trial reflected that judgment had been arrested in connection with
defendant’s conviction for selling buprenorphine. The Court of Appeals unanimously
determined that this discrepancy constituted a clerical error and remanded this case to the
Superior Court, Mitchell County, for the correction of this and another, separate clerical
error.
       3 In view of the fact that the notice of appeal that defendant, who was proceeding pro

se at that point, filed with the Clerk of Superior Court, Mitchell County, was procedurally
defective, defendant filed a petition seeking the issuance of a writ of certiorari authorizing
review of the trial court’s judgments on the merits with the Court of Appeals on 3 January
2019. The Court of Appeals allowed defendant’s certiorari petition on 10 July 2019.
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¶ 15          In seeking relief from the trial court’s judgments before the Court of Appeals,

       defendant argued that the trial court had erred by failing to hold another competency

       hearing before the beginning of defendant’s trial and by denying defendant’s motion

       to dismiss the charges that had been lodged against him for insufficiency of the

       evidence.4 A majority of the Court of Appeals panel that had been assigned to hear

       and decide this case agreed with the first of defendant’s contentions, holding that the

       trial court had erred by failing to determine whether defendant was competent to

       proceed prior to the beginning of defendant’s trial. State v. Allen, 269 N.C. App 24,

       26–27 (2019).

¶ 16          According to the Court of Appeals, a criminal defendant cannot be tried or

       convicted “for a crime when by reason of mental illness or defect [the defendant] is

       unable to understand the nature and object of the proceedings against him,” Id. at 27

       (quoting N.C. Gen. Stat. § 15A-1001(a) (2017)), with “defendant’s competency [to be]

       assessed at the time of trial” given that “a defendant’s capacity to stand trial is not

       necessarily static.” Id. (quoting State v. Mobley, 251 N.C. App. 665, 675 (2017)). In

       addition, the Court of Appeals noted that the trial court has a constitutional duty to

       initiate a competency hearing on its own motion if the record contains “substantial




              4 Neither the majority nor the dissenting opinions at the Court of Appeals discussed

       the merits of defendant’s challenge to the denial of his motion to dismiss for insufficiency of
       the evidence.
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       evidence” tending to show that the defendant might not be competent to stand trial.

       Id. (citing Mobley, 251 N.C. App. at 668).

¶ 17          In the Court of Appeals’ view, “there was substantial evidence before the trial

       court that [d]efendant might have been incompetent to stand trial,” id., with this

       evidence having included defendant’s three involuntary commitments during the

       period between his arrest and trial, the fact that defendant had been diagnosed as

       suffering from a number of mental health conditions,5 his history of noncompliance

       with mental health treatment, his significant intellectual disabilities and cognitive

       defects, and the fact that two out of the three competency evaluations conducted prior

       to trial resulted in a finding of incompetence. Id. at 28–29. In addition, the Court of

       Appeals noted that defendant’s trial counsel had expressed concern about defendant’s

       competence to stand trial during the pre-trial hearing that was held before Judge

       Gavenus, at which point defendant’s trial counsel stated that he did not necessarily

       agree with Dr. Berger’s decision to find defendant to be competent to stand trial and

       that, at an earlier point in time, defendant had not understood the manner in which

       the judicial system functioned and had continuously asked his trial counsel to explain

       what was occurring. Id. at 30–31.



              5 The mental health diagnoses noted by the Court of Appeals included severe
       methamphetamine use disorder, severe opioid use disorder, adjustment disorder with
       depressed mood, antisocial personality disorder, attention deficit hyperactivity disorder, an
       unspecified mood disorder, an unspecified personality disorder, and polysubstance
       dependence. 269 N.C. at 28.
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¶ 18         Furthermore, the Court of Appeals stated that the mistaken responses to

       certain questions that the trial court had posed to defendant during the process

       leading to the acceptance of defendant’s plea of guilty to having attained habitual

       felon status cast further doubt upon defendant’s ability to understand the

       proceedings in which he was involved. Id. at 33. More specifically, the Court of

       Appeals pointed out that, when asked if he was under the influence of alcohol, drugs,

       narcotics, medicines, pills, or other intoxicants, defendant had responded in the

       negative. According to the Court of Appeals, this answer should have raised concerns

       on the part of the trial court about the extent to which defendant was taking the

       medications that had been prescribed for him in connection with the “intensive

       outpatient” mental health treatment that defendant had been receiving. Id. In the

       same vein, the Court of Appeals emphasized that, when asked if he had agreed to a

       plea arrangement in connection with the entry of his plea of guilty to having attained

       habitual felon status, defendant had mistakenly responded in the affirmative before

       correcting his answer both prior to and after receiving clarification from his trial

       counsel. Id.

¶ 19         After reviewing the information contained in the record, the Court of Appeals

       reiterated that “the trial court must evaluate the defendant’s competency to proceed

       at the time of trial” in light of possible fluctuations in a defendant’s competence to

       stand trial, id. at 34 (citing State v. Cooper, 286 N.C. 549, 565 (1975)). In view of the
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       fact that defendant’s most recent psychiatric evaluation, which had been conducted

       in June 2017, “was not current, and may not have accurately reflected Defendant’s

       mental state at trial in February 2018” given that defendant’s competence could have

       deteriorated over the course of the ensuing eight-month period, id., and the fact that

       the pre-trial competency hearing that had been conducted before Judge Gavenus

       occurred six months before defendant’s trial, the Court of Appeals held that “the trial

       court erred in failing to determine whether, at the time of trial, [d]efendant was

       competent to proceed.” Id. at 35. As a result, the Court of Appeals remanded this

       case to the Superior Court, Mitchell County, for the purpose of determining whether

       defendant had been competent at the time of trial, with defendant to be granted a

       new trial in the event that the trial court could not determine on remand that

       defendant had been competent while the trial was in progress. Id. at 35–36.

¶ 20         In a dissenting opinion, Judge Dillon expressed the opinion that the trial court

       had not erred by failing to hold a second competency hearing prior to the beginning

       of defendant’s trial. Id. at 36. After noting that the trial court was only required to

       initiate a competency hearing on its own motion in the event that the record

       contained “substantial evidence” tending to show that the defendant might be

       incompetent, id. (citing State v. Badgett, 361 N.C. 234, 259 (2006)), Judge Dillon

       pointed out that a trial court was not required to initiate a hearing for the purpose of

       evaluating a defendant’s competence to stand trial after an earlier hearing stemming
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       from an expression of concern about the defendant’s competence raised by the

       defendant’s trial counsel two months prior to trial had resulted in a determination

       that the defendant was competent to stand trial. Id. at (citing State v. Young, 291

       N.C. 562, 568 (1977) (stating that, “where, as here, the defendant has been committed

       and examined relevant to his capacity to proceed, and all evidence before the court

       indicates that he has that capacity, he is not denied due process by the failure of the

       trial judge to hold a hearing subsequent to the commitment proceedings”).

¶ 21         According to Judge Dillon, the record contained no indication at the time that

       defendant’s trial began that defendant lacked the capacity to proceed, that neither

       defendant’s trial counsel nor anyone else had expressed any concern about

       defendant’s capacity to proceed during defendant’s trial, and that nothing had

       occurred during defendant’s trial that sufficed to raise questions about defendant’s

       capacity to proceed.    Allen, 269 N.C. App at 37–38.         In Judge Dillon’s view,

       defendant’s denial that he was “under the influence of any alcohol, drugs, narcotics,

       medicines, pills or any other substances” at the time that he entered his plea of guilty

       to having attained habitual felon status should be understood as an indication that

       defendant was not currently using any illegal substances or impaired in any way that

       would have prevented him from understanding the nature and consequences of his

       decision to plead guilty, rather than as an indication that he was not taking his

       medication as directed.     Id. at 38.    In addition, Judge Dillon concluded that
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       defendant’s initial response to the trial court’s inquiry concerning the extent, if any,

       to which he was entering a guilty plea pursuant to a plea arrangement with the State

       reflected a response to the first portion of the trial court’s question, during which the

       trial court asked if defendant was pleading guilty, id., and that defendant had

       immediately corrected his answer upon further inquiry. Id. at 38–39. The State

       noted an appeal to this Court from the Court of Appeals’ decision based upon Judge

       Dillon’s dissent.

¶ 22         In seeking to persuade us to overturn the Court of Appeals decision, the State

       argues that the record does not contain a substantial basis for questioning

       defendant’s competence to stand trial in the aftermath of Judge Gavenus’ finding that

       defendant was competent. After noting that the relevant inquiry “depends on the

       totality of the circumstances” and that a court “must review the entire record,” citing

       State v. Heptinstall, 309 N.C. 231, 236–37 (1983), the State directs our attention to

       Young, 291 N.C. at 568, in which this Court held that, when a “defendant has been

       committed and examined relevant to his capacity to proceed, and all evidence before

       the court indicates that he has that capacity, he is not denied due process by the

       failure of the trial judge to hold a hearing subsequent to the commitment

       proceedings.” According to the State, defendant’s most recent psychiatric evaluation

       found that he was competent, neither defendant nor his trial counsel disputed the

       contents of the evaluator’s finding of competency at the pre-trial competency hearing
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       held before Judge Gavenus, and nothing in the record tended to show that defendant

       had become incompetent between the date of the pre-trial competency hearing and

       the date of defendant’s trial.

¶ 23         In addition, the State argues that the Court of Appeals’ holding rested upon

       nothing more than speculation that defendant’s mental capabilities might have

       deteriorated between the pre-trial competency hearing and the trial in spite of the

       fact that the record contained no indication that anything of the sort had occurred

       and that such speculation does not suffice to raise a bona fide doubt concerning

       defendant’s competence. On the contrary, the State contends that the record contains

       substantial justification for the opposite conclusion given that defendant’s condition

       had improved after two earlier evaluations found him to be incapable of proceeding,

       that defendant had received intensive psychiatric treatment that had resulted in

       improvements to his mental condition, and that defendant’s decision to take

       responsibility for the crimes that he had committed at the sentencing hearing

       demonstrated that he comprehended the nature of the proceedings in which he was

       involved.

¶ 24         The State contends that the Court of Appeals misinterpreted the information

       contained in the record in concluding that defendant might have become incompetent

       by the time of trial. In the State’s view, the Court of Appeals erred by relying upon

       defendant’s intellectual disability and low IQ scores in determining that he might
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have become incompetent given that a competency determination requires evaluation

of the extent to which a defendant is able to understand the proceedings that have

been initiated against him and to assist in his defense, citing Godinez v. Moran, 509

U.S. 389, 396 (1993). Similarly, the State claims that the Court of Appeals erred by

relying upon the statements that defendant’s trial counsel made at the competency

hearing held before Judge Gavenus given that defendant’s trial counsel requested the

trial court to “make a finding” concerning defendant’s competency and did not dispute

Judge Gavenus’ determination that defendant was capable of proceeding. Finally,

the State argues that the Court of Appeals erred by relying upon certain statements

that defendant made during the habitual felon status plea acceptance and sentencing

phases of the proceeding as tending to show defendant’s incompetence given that

defendant’s denial that he was under the influence of any drugs or medication could

readily be understood as an assertion that he had not consumed any illegal drugs or

other substances that might impair his judgment rather than as an admission that

he had stopped complying with the course of mental health treatment that had been

prescribed for him and given that defendant’s mistaken statement that he had

entered his plea of guilty to having attained habitual felon status as part of a plea

arrangement represented nothing more than an acknowledgement that he was

pleading guilty and given that his error in making this statement had been quickly

corrected.
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¶ 25         In seeking to persuade us to uphold the Court of Appeals decision, defendant

       asserts that a trial court has a constitutional duty to initiate a competency hearing

       on its own motion in the event that the evidence “raises a ‘bona fide doubt’ as to a

       defendant’s competence to stand trial,” citing Pate v. Robinson, 383 U.S. 375, 385
       (1966). According to defendant, the trial court had a duty to evaluate his competency

       to proceed at the time of trial and that, “[d]ue to the nature of [his] limitations, the

       trial court could not assume the stability of [his] competence when a substantial

       period of time elapsed between the finding of competence and the commencement of

       trial.” In defendant’s view, defendant’s (1) well-documented disabilities; (2) short-

       and long-term memory deficits and impaired ability to recall information; (3)

       profound deficits in his fund of knowledge; and (4) various mental illnesses and

       conditions all raised questions about the extent to which defendant was competent to

       stand trial. As a result of the fact that his competency was “transient in nature,

       tenuous, and extremely fragile,” and that a period of eight months had elapsed

       between his most recent psychiatric evaluation and the time of trial, defendant

       argues that the trial court had erroneously relied upon a “stale competency

       determination” that failed to reflect his present ability to stand trial.

¶ 26         In addition, defendant argues that his responses during the plea colloquy and

       sentencing phase demonstrate that he failed to understand the nature and

       consequences of the proceedings against him. In defendant’s view, our decision in
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       Young stands for the proposition that “a trial court has a constitutional duty to

       institute, sua sponte, a competency hearing if there is substantial evidence before the

       court indicating that the accused may be mentally incompetent” and does not create

       a presumption of ongoing competency in the event that the defendant was found to

       be competent at the time of his or her most recent psychiatric evaluation.

¶ 27         “A criminal defendant may not be tried unless he is competent,” Godinez, 509

       U.S. at 396 (citting Pate, 383 U.S. 375, 378 (1966)), with a defendant having been

       deprived of his right to avoid being deprived of liberty without due process of law in

       the event that his conviction resulted from a trial during which he was incompetent.

       Pate, 383 U.S. at 378. A defendant is deemed to be incapable of standing trial when

       he “lacks the capacity to understand the nature and object of the proceedings against

       him, to consult with counsel, and to assist in preparing his defense.” Drope, 420 U.S.

       at 171; see also N.C.G.S. § 15A-1001(a) (providing that “[n]o person may be tried,

       convicted, sentenced, or punished for a crime when by reason of mental illness or

       defect he is unable to understand the nature and object of the proceedings against

       him, to comprehend his own situation in reference to the proceedings, or to assist in

       his defense in a rational or reasonable manner”). A defendant’s competence to stand

       trial may be raised at any time during trial, with “the court [being required to] hold

       a hearing to determine the defendant’s capacity to proceed” in the event that a

       challenge to the defendant’s competence is asserted.       N.C.G.S. § 15A-1002(b)(1)
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       (2019). In addition, a trial court in this jurisdiction has a “constitutional duty to

       institute, sua sponte, a competency hearing if there is substantial evidence before the

       court indicating that the accused may be mentally incompetent.” Heptinstall, 309

       N.C. at 236 (1983) (quoting Young, 291 N.C. at 568).

¶ 28         The “substantial evidence” sufficient to require a trial court to initiate a

       competency hearing on its own motion exists in situations in which the record raises

       a “bona fide doubt” concerning the defendant’s competence. Pate, 383 U.S. at 385. In

       determining whether the evidence is sufficient to raise a bona fide doubt concerning

       the defendant’s competence, a trial court is entitled to consider, among other things,

       the

                    defendant’s irrational behavior, his demeanor at trial, and
                    any prior medical opinion on competence to stand trial . . .
                    but that even one of these factors standing alone may, in
                    some circumstances, be sufficient. There are, of course, no
                    fixed or immutable signs which invariably indicate the
                    need for further inquiry to determine fitness to proceed; the
                    question is often a difficult one in which a wide range of
                    manifestations and subtle nuances are implicated.

       Drope, 420 U.S. at 180. “The relevant period of time for judging a defendant’s

       competence to stand trial is ‘at the time of trial.’ ” State v. Hollars, 376 N.C. 432, 442

       (2020) (quoting Cooper, 286 N.C. at 565). Moreover, “even when the defendant is

       deemed competent to stand trial at the commencement of the proceedings,

       circumstances may arise during trial ‘suggesting a change that would render the
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       accused unable to meet the standards of competence to stand trial.’ ” Hollars, 376

       N.C. at 442 (quoting Drope, 420 U.S. at 181).

¶ 29         The mere existence of evidence tending to show that the defendant has

       exhibited certain signs of mental disorder in the past or has engaged in what might

       be deemed unusual behavior during trial does not necessarily require the trial court

       to inquire into the defendant’s competence to proceed on his own motion.           For

       example, we have previously stated that, where “the defendant has been committed

       and examined relevant to his capacity to proceed, and all evidence before the court

       indicates that he has that capacity, he is not denied due process by the failure of the

       trial judge to hold a hearing.” Young, 291 N.C. at 568. Similarly, in a case in which

       the trial judge made inquiry of the defendant’s trial counsel prior to the

       commencement of the defendant’s trial for first-degree murder if the defendant’s

       competence had been evaluated and in which the defendant’s trial counsel responded

       by stating that the defendant had previously received mental health services for the

       purpose of treating his depression following a suicide attempt, we determined that

                    there is some evidence in the record indicating that
                    defendant had received precautionary treatment for
                    depression and suicidal tendencies several months before
                    trial. However, this evidence of past treatment, standing
                    alone, does not constitute “substantial evidence” before the
                    trial court, indicating that defendant “lack[ed] the capacity
                    to understand the nature and object of the proceedings
                    against him, to consult with counsel, and to assist in
                    preparing his defense” at the time his trial commenced.
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       State v. King, 353 N.C. 456, 467 (2001) (citation omitted) (first quoting Young, 291

       N.C. at 568; and then quoting Drope, 420 U.S. at 171). Finally, in Badgett, 361 N.C.

       at 259–60, this Court determined that the fact that the defendant had told the jury

       that he wished to be sentenced to death and verbally attacked the prosecutor during

       an emotional outburst “did not constitute ‘substantial evidence’ requiring the trial

       court to institute a competency hearing.” As a result, the fact that a defendant has

       received mental health treatment in the past or acts in an unusual or emotional

       manner during trial does not, without more, suffice to require the trial court to

       undertake an inquiry into the defendant’s competence on the trial court’s own motion.

¶ 30         A careful review of the record before the trial court at the time of defendant’s

       trial indicates that he had been involuntarily committed on four occasions during the

       two-year period between the date upon which defendant was arrested and the date

       upon which this case was called for trial.        During this period, three different

       evaluations were conducted for the purpose of determining whether defendant was

       competent to stand trial. In the first of these evaluations, which was conducted

       during November 2016, Mr. Freedman found that defendant was not competent to

       stand trial given the existence of profound deficits in his fund of knowledge, his low

       IQ scores, his intellectual disabilities, and his near-complete failure to understand

       the judicial process.   In addition, defendant’s treatment team diagnosed him as

       suffering from severe methamphetamine use disorder, severe opioid use disorder,
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       adjustment disorder with depressed mood, antisocial personality disorder, and

       suicidal ideation and Mr. Freedman noted that defendant had previously been

       diagnosed as suffering from attention deficit/hyperactivity disorder, mood disorder,

       polysubstance dependence, and personality disorder.

¶ 31         At the time of defendant’s second evaluation, which was conducted in February

       2017, Dr. Berger opined that, while defendant was not capable of proceeding to trial

       at that time, the extent to which he might be competent to stand trial in the future

       would depend upon the extent to which defendant could develop an understanding of

       the judicial process and the nature and extent of the charges that had been lodged

       against him.   According to Dr. Berger, any improvement in the likelihood that

       defendant would be found competent to stand trial depended upon the extent to which

       defendant successfully participated in the competency restoration classes that were

       available at Broughton Hospital. In the course of his commitment to Broughton

       Hospital, defendant received various treatments that were designed to improve his

       mental health and comprehension, including the administration of medication for the

       purpose of addressing anxiety and improving his sleep, participation in educational

       groups focused upon improving his understanding of courtroom procedures, and

       attendance at Alcoholics Anonymous meetings.

¶ 32         After defendant had received treatment at Broughton Hospital for about a

       month, Dr. Berger conducted another evaluation of defendant’s competence to stand
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       trial. At that time, defendant was only diagnosed as suffering from intellectual

       disability and opiate use disorder in sustained remission. Dr. Berger reported that,

       according to the treatment team, defendant had cooperated with the educational and

       treatment process, had not presented any behavioral management challenges, had

       been able to advocate for his own needs, had interacted with his peers and hospital

       staff in an appropriate manner, and had been able to independently complete tasks

       associated with daily living. In addition, Dr. Berger noted that defendant was able

       to identify his attorney; name the specific charges that had been lodged against him;

       state that, in the event that he was found guilty of committing a felony, he would

       receive a prison sentence; and was able to provide a basic explanation of the plea

       negotiation process. According to Dr. Berger, defendant was able to provide “reality-

       based and accurate” explanations of the roles played by defense attorneys,

       prosecutors, judges, members of the jury, and witnesses during the trial process and

       had informed Dr. Berger that he was ready to proceed to trial and believed that he

       would be treated fairly in the judicial system. As a result, Dr. Berger concluded that

       defendant’s competency had been restored and that he was capable of proceeding to

       trial.

¶ 33            At the pre-trial competency hearing that was held before Judge Gavenus,

       defendant’s trial counsel did express reservations about whether defendant’s

       competency had been “restored” during his time at Broughton Hospital, stating “I
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       don’t agree that he’s necessarily capable” and indicating that “there is some question

       in my mind” about defendant’s competency “because I’ve dealt with [defendant] for a

       number of years.” On the other hand, defendant’s trial counsel admitted he was not

       “a doctor to judge [defendant’s] condition” and asked Judge Gavenus to carefully

       examine Dr. Berger’s report, thoroughly consider the evidence, and make a

       determination concerning defendant’s competence to stand trial. After reading Dr.

       Berger’s second forensic evaluation and asking defendant several questions, Judge

       Gavenus determined that defendant was competent to proceed.

¶ 34         At the time that this case was called for trial, neither party made any attempt

       to revisit the issue of defendant’s competence. In addition, neither party raised the

       issue of defendant’s competence at any point during the course of the trial. Finally,

       no witness testified in such a manner as to question defendant’s competence and

       nothing else occurred during the trial that tended to suggest that defendant had

       become incompetent since Judge Gavenus had found that defendant was capable of

       standing trial. As a result, since defendant had previously been “committed and

       examined relevant to his capacity to proceed” and since “all evidence before the court

       indicate[d] that he ha[d] that capacity,” Young, 291 N.C. at 568, we conclude that the

       trial court did not err by failing to initiate an inquiry into the issue of defendant’s

       competence on its own motion.
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¶ 35         In support of his argument, defendant points to certain statements that he and

       his trial counsel made during the post-verdict proceedings that resulted in the

       acceptance of defendant’s guilty plea to having attained habitual felon status and the

       imposition of the trial court’s judgments. A careful review of the statements upon

       which defendant relies, in the context in which they were made, satisfies us that

       defendant’s arguments lack persuasive force.          For example, we are unable to

       understand defendant’s negative response to the trial court’s inquiry concerning

       whether defendant was “now under the influence of any alcohol, drugs, narcotics,

       medicines, pills or any other substances” as a suggestion that he had ceased taking

       the mental health medications that had been prescribed for him, particularly given

       defendant’s subsequent claim that he had “not been into nothing” illegal in the recent

       past and had “[n]ever failed a drug test” that had been administered by his probation

       officers and given defendant’s claim that he had been receiving “intensive outpatient”

       services from an organization associated with Broughton Hospital.              Instead,

       defendant’s negative answer to the trial court’s question seems to us to be little more

       than a denial that his mental faculties were adversely affected at the time of the entry

       of his guilty plea as a result of the consumption of an impairing substance. Similarly,

       we are unable to understand defendant’s initial error in stating that he was entering

       a plea of guilty to having attained habitual felon status pursuant to a plea agreement

       with the prosecutor as casting doubt upon defendant’s competence given that the
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question actually posed by the trial court inquired as to whether defendant had

“agreed to plead guilty as part of a plea arrangement” and given that defendant

immediately withdrew his misstatement both before and after an intervention by his

trial counsel. In other words, defendant’s error looks like nothing more than a simple

mistake. Moreover, even though defendant’s trial counsel stated at the sentencing

hearing that defendant was “on disability,” that he was “a very low-functioning

individual” with an IQ around 82, and that “he was found to be incompetent and then

found to be competent at a later date,”6 this argument was, on its face, nothing more

than a successful attempt to persuade the trial court to find the existence of the

statutory mitigating factor set out in N.C.G.S. § 15A-1340.16(e)(3) (establishing a

statutory mitigating factor available in situations in which “[t]he defendant was

suffering from a mental or physical condition that was insufficient to constitute a

defense but significantly reduced the defendant’s culpability for the offense”).

Finally, defendant’s request for the entry of a judgment placing him on probation

strikes us as, in essence, a cry for mercy rather than an indication that defendant

failed to understand the nature of the proceedings in which he was participating. As

a result, we conclude that none of these statements, taken either individually or in




      6 As has been noted elsewhere in this opinion, Mr. Freedman reported that defendant’s

reported IQ was approximately 60.
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       conjunction with each other, suffice to raise a substantial question about defendant’s

       competence to stand trial.

¶ 36         Ultimately, defendant’s challenge to the trial court’s failure to inquire into

       defendant’s competence to stand trial on its own motion rests upon the fact that

       defendant had significant cognitive deficiencies and the fact that a person’s

       competence is subject to change.       Although a defendant’s competence must be

       evaluated “at the time of trial” and although events that occur during trial may place

       the trial court on notice that a defendant’s competence has become subject to

       question, Hollars, 376 N.C. at 442, a trial court is also entitled to rely upon the

       correctness of a pre-trial competency determination in the absence of a specific basis

       for believing that the defendant’s competence is subject to legitimate question. In

       view of our determination that nothing tending to raise a substantial doubt about

       defendant’s continued competence occurred after the entry of Judge Gavenus’ order

       finding defendant to be competent to stand trial and before the end of the trial, we

       hold that the trial court did not err by failing to conduct an inquiry into defendant’s

       competence upon its own motion and that the Court of Appeals erred by reaching a

       contrary conclusion. As a result, the Court of Appeals’ decision is reversed and this

       case is remanded to the Court of Appeals for further proceedings not inconsistent

       with this opinion, including consideration of defendant’s challenge to the trial court’s
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decision to deny his motion to dismiss the charges that had been lodged against him

for insufficiency of the evidence.

      REVERSED AND REMANDED.
